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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
      Plaintiff

        v.                                               Criminal No. 07-156 (ADC)

 ZAMYRA GERENA-CARABALLO (5),
     Defendant


                                          ORDER

       Before the Court is an unopposed Report and Recommendation issued by Chief

Magistrate-Judge Justo Arenas on October 1, 2007. (Docket No. 219.) In said Report and

Recommendation the Chief Magistrate-Judge recommends that: defendant Zamyra Gerena-

Caraballo be adjudged guilty of the offenses charged in Count I (21 U.S.C. §§ 841(a)(1) and

(b)(1)(A)(iii), 846 and 860 inasmuch as, her plea of guilty was intelligently, knowingly and

voluntarily entered.

       Neither party has filed objections to the Chief Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).

       After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby

APPROVES and ADOPTS the Chief Magistrate-Judge’s Report and Recommendation in its

entirety.
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       Accordingly, a judgment of conviction is to be entered as to Count I of the indictment

in the above-captioned case.

       The sentencing hearing is set for December 17, 2007 at 11:30 a.m.

       SO ORDERED.

       At San Juan, Puerto Rico, this 23rd day of October, 2007.




                                                S/AIDA M. DELGADO-COLON
                                                United States District Judge
